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                                 #:24249




                     EXHIBIT 7
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                                     #:24250


  Alex Stolyar

  From :     Alex Stolyar
  Sent :     Saturday, January^26, 2008 4:40 PM
  To:        atemkin@skadden.com
  Cc:        Dylan Proctor
  Subject: Re: Calendars issue

Andrew,

I have left you two messages on Friday regarding your January 23 letter to Dylan Proctor, but have still not heard
back from you. We need clarification on MGA's proposal to resolve the "calendars" issue. If we do not have it, or
a stipulation to continue any arguable deadline for us to move to compel on this issue, we will be fling a motion
to compel on Monday.

Respectfully,

Alex Stolyar
Quinn Emanuel Urquhart Oliver & Hedges, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017
Direct: (213) 443-3684
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100
E-mail: alexstolyar quinnemanuel.com
Web: www.quinnemanuel.com

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1 /27/2008
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                                                                            Page1 ID
                                                                                  of 2
                                      #:24252

  Alex Stolyar

   From :    Temkin, Andrew C [Andrew.Temkin@skadden.com]
   Sent:     Saturday, January 26, 2008 7:14 PM
   To:       Alex Stolyar
   Cc:       Park, Amy S (PAL)
   Subject: RE: Calendars issue

Alex,

1 tried to reach you on Friday and left you a voicemail message. We are unclear^what "clarification" you require.
Please explain.

Andrew.


From : Alex Stolyar [mailto:alexstolyar@quinnemanuel.com]
Sent: Saturday, January 26, 2008 4:40 PM
To: Temkin, Andrew C (PAL)
Cc: Dylan Proctor
Subject: Re: Calendars issue

Andrew,

I have left you two messages on Friday regarding your January 23 letter to Dylan Proctor, but have still not heard
back from you. We need clarification on MGA's proposal to resolve the "calendars" issue. If we do not have it, or
a stipulation to continue any arguable deadline for us to move to compel on this issue, we will be filing a motion
to compel on Monday.

Respectfully,

Alex Stolyar
Quinn Emanuel Urquhart Oliver & Hedges, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017
Direct: (213) 443-3684
Main Phone: (213) 443-3000
Main Fax: (213) 443-3100
E=mail: alexstolyar quinnemanuel.com
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                                     #:24253

addressed herein . ** ^*^^*^^^^***^*^*^^^*****^^^******^^***^^***^**^x*^^
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upon request .******* ^***^*^^^ ***** ^^**^^*^^^*^^*^^^***^ ** ^*^***^*




            E^^s^r ,^ wa^E ^
1/27/2008
